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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA                                 Case No. 1:12-cr-98
                         Plaintiff,
v.                                                       Hon. Robert Holmes Bell

PABLO RAZO FIERRO                                        GOVERNMENT'S
                         Defendant(s).                   INITIAL PRETRIAL CONFERENCE
                                                         SUMMARY STATEMENT

I.    DISCOVERY
      A.    Statements of Defendant

            1.      Oral Statements (Rule 16(a)(1)(A))
                    There are no written records of oral statements or other oral statements as
                    defined in Rule 16(a)(1)(A).
                    There are the following written records of oral statements:
                    Confession to SSA-OIG, 1/20/11
                    Statement to U.S. Marshals, 6/30/15



                    The substance of which
                         has been disclosed to defense counsel.
                         will be disclosed to defense counsel by     initial pretrial conference   .

            2.      Written or Recorded Statements (Rule 16(a)(1)(B))
                    There are no written or recorded statements or grand jury testimony of
                    defendant.
                    There are the following written or recorded statements or grand jury
                    testimony:
                    Audio recording of confession to SSA-OIG, 1/20/11
                    Mlive/Muskegon Chronicle video interview at Pablo's Tacos, 2008



                    All written or recorded statements
                         have been disclosed to defense counsel.
                         will be disclosed to defense counsel by     initial pretrial conference   .
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B.    Defendant's Prior Record (Rule 16(a)(1)(D))

      The Government has made due inquiry and is not aware of any prior criminal record.
      The Government has disclosed defendant's prior criminal history.
      The Government is now making inquiry into defendant's prior criminal history. The
      results will be disclosed to defense counsel upon receipt.

C.    Documents and Tangible Objects (Rule 16(a)(1)(E))
      The Government has no documents, tangible objects, or physical evidence required
      to be disclosed.
      The Government has the following documents, tangible objects, and physical
      evidence:
           Drug Paraphernalia        Drug Records              Inventory (attached)
           Controlled Substances:
           Records:     Social Security; financial institution; tax; advertising; insurance;
           Firearms:     business licensing; Michigan workers comp, UIA, Wage & Hour
           Other:
      The Government voluntarily notifies the defendant of the following search warrants
      issued and the warrant returns:
           State
           Federal:
            Case No.                          Re:
            Case No.                          Re:
            Case No.                          Re:
      They have been made available for inspection and copying by defense counsel.
      Defense counsel should make arrangements with:



D.    Reports of Examinations and Tests (Rule 16(a)(1)(F))
      The Government has no reports of examinations or tests required to be disclosed by
      Rule 16.
      The Government has or expects to have reports of the following examinations and
      tests:
           Drug Analysis                   Handwriting                     Fingerprints
           DNA                             Firearms/Nexus                  Gun Operability
           Computer Forensics              Other:

E.    Reciprocal Discovery

      The Government seeks reciprocal discovery.
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       F.      Notice Under FRE 404(b)

               The Government does not presently intend to introduce 404(b) evidence.

               The Government does presently intend to introduce the following 404(b) evidence:
               Records from WDMI docket no. 1:01-cv-615 RAE (Disability litigation)




            The Government will provide pretrial notice of 404(b) evidence by                     .


       G.      Other Discovery Matters




II.    TRIAL
       A.      The Government requests a            jury        non-jury trial.
       B.      The length of trial excluding jury selection is estimated at         3 days   .


III.   MISCELLANEOUS
            This case may be appropriate for expedited resolution.
            The Government is unaware at this time of any known conflict with defendant's
            representation by counsel. The United States will immediately advise counsel if any
            such conflict becomes known.
            The Government is aware of the following potential conflicts:




            Government's plea negotiation policy:

            No consideration for plea entered less than three weeks before trial.




Date
                                                  Counsel for the United States
